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10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                            SAN JOSE DIVISION

13
     UNITED STATES OF AMERICA,                        )   CASE NO. 15-CR-00226-BLF
14                                                    )
             Plaintiff,                               )   JOINT STIPULATION FOR EXCLUSION OF
15                                                    )   TIME FROM JULY 21, 2015, TO JULY 30, 2015,
        v.                                            )   [PROPOSED] ORDER TO EXCLUDE TIME FROM
16                                                    )   JULY 21, 2015, TO JULY 30, 2015
     DOUGLAS STORMS YORK,                             )
17                                                    )
             Defendant.                               )
18                                                    )

19

20                                            JOINT STIPULATION
21           On July 21, 2015, the parties appeared before the Honorable Beth L. Freeman for a status
22 conference on the superseding indictment in this matter. At the hearing, defense counsel, Graham

23 Archer was unavailable, and Varell Fuller requested a continuance of the matter until July 30, 2015 at

24 8:30 a.m. for further trial setting.

25           The parties hereby stipulate that the time between July 21, 2015, and July 30, 2015, at 8:30 a.m.,
26 should be excluded from the calculation of time within which the trial in this case must commence

27 pursuant to the Speedy Trial Act, in order to allow each counsel sufficient time to effectively prepare,

28 taking into account the exercise of due diligence. The parties stipulate that the ends of justice served by

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 1 granting the request outweigh the best interest of the public and the defendant in a speedy trial. Further,

 2 time should be excluded for continuity of counsel in this matter.

 3

 4 DATED: July 27, 2015                                          Respectfully submitted,

 5                                                               MELINDA HAAG
                                                                 United States Attorney
 6

 7                                                               /s/
                                                                 BRIANNA L. PENNA
 8                                                               Special Assistant United States Attorney

 9

10 DATED: July 27, 2015                                          /s/
                                                                 GRAHAM ARCHER
11                                                               Attorney for the Defendant

12

13
                                          [PROPOSED] ORDER
14
            Pursuant to the parties’ motion, the Court HEREBY ORDERS that the time between July 21,
15
     2015, and July 30, 2015 be excluded under the Speedy Trial Act, 18 U.S.C. § 3161. The Court finds,
16
     pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), that the failure to grant the requested continuance
17
     would deny counsel the reasonable time necessary for effective preparation, taking into account the
18
     exercise of due diligence.
19
            Furthermore, the Court finds that the ends of justice served by granting the requested
20
     continuance outweigh the best interest of the public and the defendant in a speedy trial. The Court
21
     therefore concludes that this exclusion of time should be made under 18 U.S.C. §§ 3161(h)(7)(A) and
22
     (B)(iv).
23
            IT IS SO ORDERED.
24

25

26 DATED:_________________                               ____________________________________
27                                                       HON. BETH L. FREEMAN
                                                         United States District Judge
28

     JOINT STIPULATION FOR EXCLUSION OF TIME AND [PROPOSED] ORDER TO EXCLUDE TIME
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